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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 22-60204-CR-RUIZ

UNITED STATES OF AMERICA

V.
                                                                              JAN 16 2025
ROYAL AIR MUSEUM, INC.,                                                       ANGELA E. NOBLE
                                                                             CLERK U.S. DIST. CT.
                                                                             S.O. OF FLA. - W.P.8.
                 Defendant.
- - - - -- - - - - -- I
                NOTICE OF PERMANENT APPEARANCE

Steven M. Selz, Esq, files this appearance as counsel for the above-named defendant. Counsel agrees to
represent the defendant for:

     X        TRIAL AND ALL PROCEEDINGS IN THE DISTRICT COURT
or
- - - TRIAL, ALL PROCEEDINGS IN THE DISTRICT COURT, AND ON APPEAL
Counsel acknowledges responsibility to advise the defendant of the right to appeal, and to file a timely
notice of appeal if requested to do so by the defendant. Counsel hereby states that this appearance is in
conformity with the requirements of Local General Rule 11.1 and the Special Rules Governing the
Admission and Practice of Attorneys.

FEE DISPUTES BETWEEN COUNSEL AND CLIENT SHALL NOT BE A BASIS FOR
WITHDRAWAL FROM THIS REPRESENTATION.

     Attorney: Steven M; Selz
     Florida Bar Number: 777420
     Street Address: 500 University Blvd., Suite 110
     City/State/Zip Code: Jupiter, FL 33458
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     Telephone: 561-694-0260

I hereby acknowledge that I have read this form and consent to the representation of the
abov cou e      not      ove.



     De endant-Royal Air Museum, Inc. by
     Mark Daniels, President


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